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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    )
JANSSEN BIOTECH, INC.,                              )
                Plaintiff,                          )
                                                    )      Case No. 1:17-cv-11008-MLW
v.                                                  )
                                                    )
CELLTRION HEALTHCARE CO., LTD.,                     )
CELLTRION, INC., and                                )
HOSPIRA, INC.                                       )
                  Defendants.                       )
                                                    )

              ASSENTED-TO MOTION FOR ADMISSION PRO HAC VICE
                   OF GREGORY L. DISKANT, ARON FISCHER,
                 ANDREW D. COHEN, AND DANIEL A. FRIEDMAN

       Plaintiff Janssen Biotech, Inc., by and through Nutter McClennen & Fish LLP, Seaport

West, 155 Seaport Boulevard, Boston, Massachusetts, moves that Gregory L. Diskant, Aron

Fischer, Andrew D. Cohen, and Daniel A. Friedman of Patterson Belknap Webb & Tyler LLP be

admitted pro hac vice in the above case. Pursuant to Local Rule 83.5.3, this motion is

accompanied by the certificates of Gregory L. Diskant, Aron Fischer, Andrew D. Cohen, and

Daniel A. Friedman.

                                                    JANSSEN BIOTECH, INC.,

                                                    By its attorneys,

                                                     /s/ Alison C. Casey
                                                    Heather B. Repicky (BBO # 663347)
                                                    hrepicky@nutter.com
                                                    Alison C. Casey (BBO # 688253)
                                                    acasey@nutter.com
                                                    NUTTER MCCLENNEN & FISH LLP
                                                    Seaport West
                                                    155 Seaport Boulevard
                                                    Boston, MA 02210
                                                    (617) 439-2000

Dated: August 1, 2017
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                            LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion, and was advised that defendants assent to this
motion.

                                                      /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on August 1, 2017 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing and if not so registered, that paper copies will be mailed to such
parties or to their counsel.

                                                      /s/ Alison C. Casey
